                                       IN THE
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION

     UNITED STATES OF AMERICA,                  )
                                                )
                   Plaintiff,                   )
                                                )
     v.                                         )      Criminal No. 4:18CR00011-08
                                                )
     ASHLEY TIANA ROSS,                         )
                                                )
                   Defendant.                   )

     NOTICE OF DEFENDANT ASHLEY TIANA ROSS’ JOINDER IN OBJECTIONS
        TO UNITED STATES’ TRIAL EXHIBITS AND MOTIONS IN LIMINE

            Defendant, Ashley Tiana Ross, by counsel, joins in the Objections to Specific

     United States’ Trial Exhibits filed by defendant Dashaun Lamar Trent (ECF 545), the

     Objection to Government Exhibit 324 filed by Dashaun Lamar Trent (ECF 577), the

     Objection to the Government’s Notice of Certain Expert Witnesses filed by Dashaun

     Lamar Trent (ECF 569), and the Motion to Exclude Firearm Identification Evidence filed

     by defendant Shabba Larun Chandler (ECF 581).

                                                       Respectfully submitted,

                                                       ASHLEY TIANA ROSS

                                                       By     /s/Terry N. Grimes
                                                             Of Counsel

     Terry N. Grimes, Esquire (VSB No. 24127)
     TERRY N. GRIMES, ESQ., P.C.
     320 Elm Avenue, SW
     Roanoke, Virginia 24016
     (540) 982-3711
     (540) 345-6572 Facsimile
     tgrimes@terryngrimes.com
     Counsel for Defendant




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                                 CERTIFICATE OF SERVICE

            I hereby certify that the foregoing document was electronically filed with the

     Clerk of the Court using the CM/ECF system, and that a true and accurate copy of the

     foregoing was sent via the CM/ECF system to all counsel of record on the 1st day of

     August, 2019.

                                                                 /s/ Terry N. Grimes
                                                                     Terry N. Grimes




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